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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.1
                               Eastern Division

Bill A. Busbice Jr., et al.
                                   Plaintiff,
v.                                                     Case No.: 1:17−cv−01640
                                                       Honorable Andrea R. Wood
Adrian Vuckovich, et al.
                                   Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, February 7, 2018:


        MINUTE entry before the Honorable Andrea R. Wood: Motion hearing held. As
stated on the record, Defendants' motion to quash [80] is taken under advisement as fully
briefed. Plaintiffs' motion to compel [86] is taken under advisement. Status hearing set for
3/8/2018 [78] remains firm. Mailed notice(ef, )




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